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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


  EVANSTON INSURANCE COMPANY                            Case No.: 1:10-cv-22388-CMA

                      Plaintiff,
  vs.

  AB KNIGHT CONSTRUCTION, LLC;
  BUSINESS PARK ON THE PALMETTO
  CONDOMINIUM ASSOCIATION, INC., a
  Florida not for profit corporation; TD MIAMI
  GARDENS, LLC; MAX SERVICES PAINTING
  & STUCCO, INC.,

                  Defendants.
  ____________________________________/


                   PLAINTIFF’S STATEMENT OF MATERIAL FACTS
               IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

        Plaintiff, Evanston Insurance Company (“EVANSTON”), by and through its

  undersigned counsel, and pursuant to Fed. R. Civ. P. 56 and Southern District Local Rules

  7.1 and 7.5 hereby submits this Statement of Material Facts in Support of Evanston’s

  Motion for Summary Judgment.

        1.     This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 to

  determine whether the insurance policies issued by EVANSTON to AB KNIGHT

  CONSTRUCTION, LLC (“AB KNIGHT”) requires that EVANSTON defend and indemnify

  AB KNIGHT in the lawsuit filed against AB KNIGHT by the BUSINESS PARK ON THE

  PALMETTO CONDOMINIUM ASSOCIATION, INC. (the “ASSOCIATION”). See Complaint

  for Declaratory Judgment (Docket Entry (“DE”) 1).
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         2.     As the developer, TD MIAMI GARDENS, LLC (“TD MIAMI GARDENS”)

  “converted a building located at 16600 NW 54th Avenue, Miami, Florida 33014, to a

  condominium” known as the Business Park on the Palmetto Condominium (the

  “PROJECT”). See Association’s Second Amended Complaint and Demand for Jury Trial

  with Exhibits attached to Complaint for Declaratory Judgment as Exhibit “C” (DE 1)

  (“Association Complaint”), at ¶ 7.

         3.     As the developer, TD MIAMI GARDENS “was responsible for constructing

  said condominium within the standards of good workmanship, free of structural defects and

  had the duty of complying with the architectural plans/drawings, specifications and all

  applicable building and zoning codes.” See Association Complaint at ¶ 9.

         4.     “In constructing the condominium, (TD MIAMI GARDENS) contracted with

  (AB KNIGHT) as a General Contractor who was responsible to actually construct the said

  condominium.” See Association Complaint at ¶ 10.

         5.     “[T]he PROJECT exceeds six units.”        See Complaint for Declaratory

  Judgment (DE 1), at ¶ 14 and Defendant AB KNIGHT’s Answer (DE 38), at ¶ 14.

         6.     AB KNIGHT “in turn, subcontracted the stucco work” on the PROJECT to

  MAX SERVICES PAINTING & STUCCO, INC. (“MAX SERVICES”). See Association

  Complaint at ¶ 11.

         7.     Subsequently, TD MIAMI GARDENS turned over control of the PROJECT

  to the ASSOCIATION. See Association Complaint at ¶ 12.




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         8.     After the ASSOCIATION took control of the PROJECT and units were sold

  and occupied by the ASSOCIATION’s unit owners, certain deficiencies were observed.

  See Association Complaint at ¶ 13.

         9.     As a result of the observed defects and deficiencies, the ASSOCIATION filed

  suit in the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida,

  Case No. 09-21364-CA-04, styled Business Park on the Palmetto Condominium

  Association, Inc., a Florida not for profit corporation, Plaintiff vs. TD Miami Gardens, LLC,

  AB Knight Construction, LLC, and Max Services Painting & Stucco, Inc., Defendants

  (“underlying action”). See Association’s Second Amended Complaint and Demand for Jury

  Trial with Exhibits attached to Complaint for Declaratory Judgment (DE 1) as Exhibit “C.”

         10.    In the underlying action, the ASSOCIATION alleges that the causes of action

  concern matters of common interest to the ASSOCIATION and unit owners which include,

  but are not limited to: (1) the roof and structural components of the condominium building

  and its improvements; and (2) construction of an illegal parking lot. See Association

  Complaint at ¶ 17 and Defendant AB Knight’s Answer (DE 38), at ¶ 17.

         11.    In the underlying action, the ASSOCIATION also alleges that the defects and

  deficiencies in the condominium building were “caused by faulty workmanship or defective

  work performed in whole or in part by the contractor, its subcontractors, and/or

  subcontractors that has caused damage to other property located within, on and/or about

  Association including physical injury to tangible property and/or resulting loss of value of

  that property.” See Association Complaint at ¶ 22.




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         12.    The Association Complaint alleges that AB KNIGHT, in inspecting, designing,

  constructing and delivering the condominium building “failed to comply with all applicable

  local, state and national building codes and regulations, including but not limited to the

  Florida Building Code, in contravention of the State Minimum Building Codes Act.” See

  Association Complaint at ¶ 38 and Defendant AB Knight’s Answer (DE 38), at ¶ 18.

         13.    The Association Complaint further alleges that AB KNIGHT breached its

  implied warranty because the “stucco structural component of the ASSOCIATION’s

  buildings were neither fit nor merchantable for the use intended as a result of the defective

  stucco on the exterior walls and the parking area on the north side of the North Building”

  was built in violation of the applicable building and zoning codes. See Association

  Complaint at ¶ 55 and Defendant AB Knight’s Answer (DE 38), at ¶ 19.

         14.    Based upon these claims, the ASSOCIATION seeks damages including, but

  not limited to the costs incurred to repair and replace property located on the common

  elements and the individual units of the building; costs that will be incurred to construct,

  repair and replace property on the common elements and the individual units of the

  building; and costs incurred and that will be incurred to construct, repair and replace other

  property located at the building. See Association Complaint at ¶¶ 41-44, 56 and Defendant

  AB Knight’s Answer (DE 38), at ¶ 20.

         15.    EVANSTON issued commercial general liability policy # CL090100626 to AB

  KNIGHT which was in effect between September 9, 2005 and September 9, 2006. See

  Exhibit “A” to (DE 1).




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        16.    EVANSTON subsequently issued commercial general liability policy

  # CL090100937 to AB KNIGHT which was in effect between September 9, 2006 and

  September 9, 2007. See Exhibit “B” to (DE 1).

        17.    Evanston Policy # CL090100626 and Evanston Policy # CL090100937 are

  collectively referred to as “EVANSTON POLICIES.”

        18.    The EVANSTON POLICIES define “property damage” as follows:

               “Property damage” means:

               a.     Physical injury to tangible property, including all resulting loss
                      of use of that property. All such loss of use shall be deemed
                      to occur at the time of the physical injury that caused it; or

               b.     Loss of use of tangible property that is not physically injured.
                      All such loss of use shall be deemed to occur at the time of the
                      “occurrence” that caused it.

  See Exhibits “A” and “B” to (DE 1).

        19.    Evanston Policy # CL090100626 contains a Contractor Limitation

  Endorsement, which states that coverage under the policy does not apply to “property

  damage” “arising out of or in any way related to any apartment, condominium, townhome,

  planned unit development, single-family or tract homes.” See Exhibit “A” to (DE 1).

        20.    Evanston Policy # CL090100937 contains a Contractor Limitation

  Endorsement, which states that coverage under the policy does not apply to “property

  damage” “arising out of or in any way related to any apartment, condominium, townhome,

  planned unit development, single-family or tract homes where the total project or

  development exceeds 6 homes and/or units.” See Exhibit “B” to (DE 1).

        21.    EVANSTON has disclaimed coverage to AB KNIGHT under Evanston Policy

  # CL090100626 in the ASSOCIATION’s lawsuit. See Exhibit “D” to (DE 1).

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         22.      EVANSTON has undertaken the defense of AB KNIGHT under a complete

  reservation of rights under Evanston Policy # CL090100937 in the ASSOCIATION’s

  lawsuit.     See Exhibit “E” to (DE 1).

         23.      EVANSTON’s reservation of rights included the right to seek reimbursement

  of defense costs incurred in defending a claim for which it has no obligation under

  Evanston Policy # CL090100937. See Exhibit “E” to (DE 1).

         24.      Because AB KNIGHT is unable to establish a prima facie case for coverage

  under the EVANSTON POLICIES, EVANSTON is entitled to summary judgment as a

  matter of law that EVANSTON has no duty to defend or indemnify AB KNIGHT in the

  underlying action.

                                            Respectfully submitted,

                                            BUTLER PAPPAS WEIHMULLER KATZ CRAIG LLP


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                                 CERTIFICATE OF SERVICE

          I hereby certify that the foregoing Plaintiff’s Statement of Material Facts in Support
  of its Motion for Summary Judgment was filed with the CM/ECF system on January 5,
  2011, which will automatically send electronic copies to the following:


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